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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION                            MDL No. 2804
OPIATE LITIGATION
                                                        Case No. 17-md-02804
THIS DOCUMENT RELATES TO:
                                                        Judge Dan Aaron Polster
All MDL Tribal Cases




           ORDER APPOINTING JUDGE LAYN PHILLIPS AND
   SPECIAL MASTER DAVID R. COHEN TO DECIDE ALLOCATION ISSUES,
 APPOINTING SPECIAL MASTER COHEN AS QUALIFIED SETTLEMENT FUND
ADMINISTRATOR AND APPOINTING TRIBAL SETTLEMENT TRUST DIRECTORS

       The Plaintiff Tribal Leadership Committee’s (TLC’s) motion to appoint Judge Layn

Phillips and Special Master David R. Cohen to manage and decide the inter-tribal allocation for

distribution of settlement funds to tribal entities participating in certain settlements; to appoint

Special Master David R. Cohen as Trust Administrator for the Qualified Settlement Funds

(QSFs) being established to implement Tribal Plaintiffs’ settlement agreements with Janssen

Pharmaceuticals, Inc., Janssen Pharmaceutica, Inc. N/K/A Janssen Pharmaceuticals, Inc.,

Johnson & Johnson, Ortho-McNeil-Janssen Pharmaceuticals, Inc., N/K/A Janssen

Pharmaceuticals, Inc. (“Janssen”), and with AmerisourceBergen Corp., McKesson Corp., and

Cardinal Health, Inc. (the “Distributors”), (collectively “Settling Defendants”); and to appoint

Mary Smith, Dean Kevin Washburn and Kathy Hannan as Directors of the Tribal Settlement

Trust to assist in the implementation of the settlements, is hereby GRANTED.


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     1. Judge Layn Phillips and Special Master David R. Cohen are hereby appointed to set

        the procedures by which the allocation of the settlement funds will be completed

        consistent with the executed term sheets (and subsequent settlement agreements) and

        to jointly determine the final inter-tribal allocation for each settlement.

     2. Special Master David R. Cohen is hereby appointed as Trust Administrator for the

        Qualified Settlement Funds established to implement Tribal Plaintiffs’ settlement

        agreements with Settling Defendants.

     3. Mary Smith, Dean Kevin Washburn and Kathy Hannan are hereby appointed as

        Directors of the Tribal Settlement Trust to work in coordination with the Trust

        Administrator to implement the settlements and to carry out the responsibilities set

        forth in the executed term sheets reflecting the parties’ settlements.

     4. Any costs and fees associated with or arising out of the duties of Judge Layn Phillips,

        Special Master Cohen, Dean Washburn, Ms. Smith and Ms. Hannah shall be paid out

        of interest accrued on the settlement funds, and thereafter from the settlement funds

        should such interest prove insufficient for such purposes.

     IT IS SO ORDERED.




                                            DAN AARON POLSTER
                                            UNITED STATES DISTRICT JUDGE

February ___, 2022




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